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  8                           UNITED STATES DISTRICT COURT
  9                      CENTRAL DISTRICT OF CALIFORNIA
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 11   KEE SOOK AHN,                          Case No.: 2:21-cv-04141 RGK (JDEx)
                                             Hon. R. Gary Klausner
 12
                 Plaintiff,                  [PROPOSED] ORDER GRANTING
 13                                          STIPULATION FOR DISMISSAL OF
                                             THE ENTIRE ACTION
 14        vs.

 15 XIU HUA LIANG; LI QIONG YU;
 16 DOES 1 to 10,
 17              Defendants.
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                                      [PROPOSED] ORDER
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  1         Based on the stipulation of the parties and for good cause shown:
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  3         IT IS HEREBY ORDERED that the entire action be dismissed with
  4

  5 prejudice, all parties to bear their own fees and costs, with the Court to retain

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  7 jurisdiction with the Court to retain jurisdiction up for thirty (30) days up until

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  9 November 19, 2021.
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 11         SO ORDERED.
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 13         DATED: _____________
                   October 21, 2021                  _______________________________
 14                                                  United States District Court Judge

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                                         [PROPOSED] ORDER
